                    Case 6:19-bk-06510-LVV          Doc 52      Filed 06/26/20     Page 1 of 5
                                       United States Bankruptcy Court
                                        Middle District of Florida
In re:                                                                                  Case No. 19-06510-LVV
Brion T Trainor-Renzi                                                                   Chapter 7
Jill Noel Trainor-Renzi
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 113A-6           User: lscott                 Page 1 of 3                   Date Rcvd: Jun 24, 2020
                               Form ID: B318                Total Noticed: 89


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 26, 2020.
db/jdb         +Brion T Trainor-Renzi,     Jill Noel Trainor-Renzi,    302 Walk View Court,
                 Apopka, FL 32703-4848
br             +BK Global Real Estate Services,     1095 Broken Sound Parkway,     Suite 200,
                 Boca Raton, FL 33487-3503
cr             +Bayview Loan Servicing, LLC,     Kahane & Associates, P.A.,     c/o Taji S. Foreman,
                 8201 Peters Road,    Ste. 3000,    Plantation, FL 33324-3292
r              +Century 21 Carioti,    c/o Kavita Hanisha Uttamchandani,      1650 Sand Lake Road Ste 107,
                 Orlando, FL 32809-7671
sp             +Kristen L. Henkel,     M. E. Henkel, P.A.,     3560 South Magnolia Avenue,
                 Orlando, FL 32806-6214
28542780       +Advanced Call Center,     Technologies, LLC,    PO Box 9091,    Johnson City, TN 37615-9091
28542781      #+Alltran Financial LP,     PO Box 610,    Sauk Rapids, MN 56379-0610
28542782       +Alpha Recovery Corp,     6912 S. Quentin St. #10,    Centennial, CO 80112-4531
28542783        Apelles,    3700 Corp. Dr #240,    Columbus, OH 43231
28542784        Bayview Loan Servicing,     P.O. Box 650091,    Dallas, TX 75265-0091
28542786       +Caine & Weiner,    12005 Ford Rd, Ste 300,     Dallas, TX 75234-7262
28542789       +CarMax Auto Finance,     Attn: Bankruptcy,    Po Box 440609,    Kennesaw, GA 30160-9511
28542793       +Citi/Sears,    Citibank,    Centralized Bankruptcy,    Po Box 790034,     St Louis, MO 63179-0034
28542797       +Credit Control, LLC,     PO Box 31179,    Tampa, FL 33631-3179
28542796        Credit Control, LLC,     PO Box 51790,    Livonia, MI 48151-5790
28542799       +Creditone Llc,    Po Box 625,    Metairie, LA 70004-0625
28542800       +Del Air,    531 Codisco Way,    Sanford, FL 32771-6618
28542803       +FBCS Inc.,    330 S. Warminster Rd.,     Ste 353,   Hatboro, PA 19040-3433
28542806       +First National Bank/Legacy,     Attn: Bankruptcy,    Po Box 5097,    Sioux Falls, SD 57117-5097
28542809       +Fortiva,    5 Concourse Pkwy,    Atlanta, GA 30328-5350
28542810        Fortiva/Atlanticus,    PO Box 105555,     Atlanta, GA 30348-5555
28542814       +Halsted Financial SVC. LLC,     PO Box 828,    Skokie, IL 60076-0828
28578632       +Hyundai Lease Titling Trust,     PO Box 20825,    Fountain Valley, CA 92728-0825
28612721       +JPMorgan Chase Bank, N.A.,     s/b/m/t Chase Bank USA, N.A.,
                 c/o Robertson, Anschutz & Schneid, P.L.,      6409 Congress Avenue, Suite 100,
                 Boca Raton, FL 33487-2853
28542820        LTD Financial Svcs,    3200 Wilcrest, Ste 600,     Houston, TX 77042-6000
28542819       +LendingUSA,    Attn: Bankruptcy Dept,     15303 Ventura Blvd. Ste 850,
                 Sherman Oaks, CA 91403-6630
28542826       +MRS. Assoc.,    1930 Olney Avenue,     Cherry Hill, NJ 08003-2016
28542823       +Mandarich Law Group, LLP,     Attn: Michelle K. Himes Esq,     PO Box 952289,
                 Lake Mary, FL 32795-2289
28542827       +NCB Management Services,     Attn: Bankruptcy,    One Allied Drive,    Trevose, PA 19053-6945
28542830       +Radius Global Sol. LLC,     7831 Glenroy Rd, Ste 250-A,    Minneapolis, MN 55439-3117
28542833        Rolfe & Lobello, P.A.,     PO Box 4400,    Jacksonville, FL 32201-4400
28542834       +Sequium Asset Solutions, LLC,     1130 Northchase Parkway,     Suite 150,    Marietta, GA 30067-6429
28542838        Total Visa,    PO Box 91510,    Sioux Falls, SD 57109-1510
28542839       +United Collection Bureau,     5620 Southwyck Blvd, #206,     Toledo, OH 43614-1501
28542840       +Velocity Investment, LLC,     PO Box 788,    Wall, NJ 07719-0788
28542841       +Wekiva Walk HOA, Inc.,     c/o Sentry Management,    2180 W. SR 434, Ste 5000,
                 Longwood, FL 32779-5042

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QMEHENKEL.COM Jun 25 2020 05:23:00      Marie E. Henkel,    3560 South Magnolia Avenue,
                 Orlando, FL 32806-6214
cr             +EDI: AISACG.COM Jun 25 2020 05:23:00      BMW Financial Services NA, LLC, c/o AIS Portfolio,
                 4515 N Santa Fe Ave. Dept. APS,    Oklahoma City, OK 73118-7901
28563860        E-mail/Text: Bankruptcy@absoluteresolutions.com Jun 25 2020 01:46:01
                 Absolute Resolutions Investments, LLC,    c/o Absolute Resolutions Corporation,
                 8000 Norman Center Drive, Suite 350,    Bloomington, MN 55437
28660800       +EDI: ATLASACQU.COM Jun 25 2020 05:23:00      Atlas Acquisitions LLC,    294 Union St.,
                 Hackensack, NJ 07601-4303
28542785        EDI: BMW.COM Jun 25 2020 05:23:00      BMW Financial Services,    Attn: Bankruptcy Department,
                 Po Box 3608,   Dublin, OH 43016
28664199       +E-mail/Text: bkmailbayview@bayviewloanservicing.com Jun 25 2020 01:48:00
                 Bayview Loan Servicing, LLC,    4425 Ponce de Leon Blvd, 5th Floor,
                 Coral Gables, FL 33146-1873
28542794        EDI: CKSFINANCIAL.COM Jun 25 2020 05:23:00      CKS Financial,    PO Box 2856,
                 Chesapeake, VA 23327-2856
28635620        EDI: CRFRSTNA.COM Jun 25 2020 05:23:00      CREDIT FIRST NA,    PO BOX 818011,
                 CLEVELAND, OH 44181-8011
28542788       +EDI: CAPITALONE.COM Jun 25 2020 05:23:00      Capital One,    Po Box 30281,
                 Salt Lake City, UT 84130-0281
28542787       +EDI: CAPITALONE.COM Jun 25 2020 05:23:00      Capital One,    Attn: Bankruptcy,   Po Box 30285,
                 Salt Lake City, UT 84130-0285
28562293        EDI: CAPITALONE.COM Jun 25 2020 05:23:00      Capital One Bank (USA), N.A.,
                 by American InfoSource as agent,    PO Box 71083,   Charlotte, NC 28272-1083
                    Case 6:19-bk-06510-LVV          Doc 52     Filed 06/26/20     Page 2 of 5



District/off: 113A-6           User: lscott                 Page 2 of 3                   Date Rcvd: Jun 24, 2020
                               Form ID: B318                Total Noticed: 89


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
28542790       +E-mail/Text: bankruptcy@cavps.com Jun 25 2020 01:47:47        Cavalry Portfolio Services,
                 Attn: Bankruptcy Department,    500 Summit Lake Ste 400,     Valhalla, NY 10595-2322
28547396       +E-mail/Text: bankruptcy@cavps.com Jun 25 2020 01:47:48        Cavalry SPV I, LLC,
                 500 Summit Lake Drive, Ste 400,    Valhalla, NY 10595-2321
28542795       +EDI: WFNNB.COM Jun 25 2020 05:23:00       Comenity Bank,    P.O. Box 182125,
                 Columbus, OH 43218-2125
28542798       +EDI: CRFRSTNA.COM Jun 25 2020 05:23:00       Credit First National Asso,     Attn: Bankruptcy,
                 Po Box 81315,    Cleveland, OH 44181-0315
28542801        EDI: DISCOVER.COM Jun 25 2020 05:23:00       Discover Financial,     Attn: Bankruptcy Department,
                 Po Box 15316,    Wilmington, DE 19850
28552877        EDI: DISCOVER.COM Jun 25 2020 05:23:00       Discover Bank,    Discover Products Inc,
                 PO Box 3025,   New Albany, OH 43054-3025
28542802       +E-mail/Text: bknotice@ercbpo.com Jun 25 2020 01:47:30        ERC,    P.O. Box 57610,
                 Jacksonville, FL 32241-7610
28542804        E-mail/Text: data_processing@fin-rec.com Jun 25 2020 01:47:00         Financial Recovery Services,
                 PO Box 385908,    Minneapolis, MN 55438-5908
28542805       +EDI: BLUESTEM Jun 25 2020 05:23:00       Fingerhut,    Attn: Bankruptcy,    Po Box 1250,
                 Saint Cloud, MN 56395-1250
28542807       +EDI: AMINFOFP.COM Jun 25 2020 05:23:00       First Premier Bank,     Attn: Bankruptcy,
                 Po Box 5524,   Sioux Falls, SD 57117-5524
28542808       +EDI: FSAE.COM Jun 25 2020 05:23:00       Firstsource Advantage, LLC,     205 Bryant Woods South,
                 Buffalo, NY 14228-3609
28542777        EDI: FLDEPREV.COM Jun 25 2020 05:23:00       Florida Department of Revenue,      Bankruptcy Unit,
                 Post Office Box 6668,    Tallahassee FL 32314-6668
28542811       +E-mail/Text: Banko@frontlineas.com Jun 25 2020 01:48:38        Frontline Assets Strategies,
                 2700 Shelling Avenue N.,    Saint Paul, MN 55113-1783
28542812       +EDI: PHINGENESIS Jun 25 2020 05:23:00       Genesis FS Card Services,     PO Box 4499,
                 Beaverton, OR 97076-4499
28542813       +E-mail/Text: bankruptcy@affglo.com Jun 25 2020 01:47:25        Global Credit & Collection,
                 5440 N Cumberland Ave,    Chicago, IL 60656-1486
28542778        EDI: IRS.COM Jun 25 2020 05:23:00       Internal Revenue Service,     Post Office Box 7346,
                 Philadelphia PA 19101-7346
28638594        EDI: JEFFERSONCAP.COM Jun 25 2020 05:23:00       Jefferson Capital Systems LLC,      Po Box 7999,
                 Saint Cloud Mn 56302-9617
28542792        EDI: JPMORGANCHASE Jun 25 2020 05:23:00       Chase Card Services,     Attn: Bankruptcy,
                 Po Box 15298,    Wilmington, DE 19850
28542815        EDI: JEFFERSONCAP.COM Jun 25 2020 05:23:00       Jefferson Capital Sys. LLC,      Po Box 1999,
                 Saint Cloud, MN 56302
28542816       +E-mail/Text: bncnotices@kahaneandassociates.com Jun 25 2020 01:46:05
                 Kahane & Associates, P.A.,    Attn: Stephanie Simmonds,      8201 Peters Road, Ste. 3000,
                 Fort Lauderdale, FL 33324-3292
28542817       +EDI: FORD.COM Jun 25 2020 05:23:00       Kia Motors Finance,    Attn: Bankruptcy,     Po Box 20825,
                 Fountain Valley, CA 92728-0825
28542821       +E-mail/PDF: resurgentbknotifications@resurgent.com Jun 25 2020 01:50:10          LVNV Funding LLC,
                 PO Box 10584,    Greenville, SC 29603-0584
28559870        E-mail/PDF: resurgentbknotifications@resurgent.com Jun 25 2020 01:50:34          LVNV Funding, LLC,
                 Resurgent Capital Services,    PO Box 10587,    Greenville, SC 29603-0587
28542822       +E-mail/PDF: resurgentbknotifications@resurgent.com Jun 25 2020 01:50:34
                 LVNV Funding/Resurgent,    Attn: Bankruptcy,    Po Box 10497,     Greenville, SC 29603-0497
28822583       +E-mail/Text: ecf@c13orl.com Jun 25 2020 01:46:03        Laurie K Weatherford,
                 Post Office Box 3450,    Winter Park, FL 32790-3450
28542818       +E-mail/Text: bk@lendingclub.com Jun 25 2020 01:48:05        LendingClub,    71 Stevenson St Ste 300,
                 San Francisco, CA 94105-2985
28580926        E-mail/PDF: MerrickBKNotifications@Resurgent.com Jun 25 2020 01:50:24          MERRICK BANK,
                 Resurgent Capital Services,    PO Box 10368,    Greenville, SC 29603-0368
28542825       +E-mail/PDF: MerrickBKNotifications@Resurgent.com Jun 25 2020 01:50:49
                 Merrick Bank/CardWorks,    Attn: Bankruptcy,    Po Box 9201,     Old Bethpage, NY 11804-9001
28643478       +EDI: MID8.COM Jun 25 2020 05:23:00       Midland Funding LLC,     PO Box 2011,
                 Warren, MI 48090-2011
28542828       +EDI: AGFINANCE.COM Jun 25 2020 05:23:00       OneMain Financial,     Attn: Bankruptcy,
                 601 Nw 2nd Street,    Evansville, IN 47708-1013
28582208       +EDI: AGFINANCE.COM Jun 25 2020 05:23:00       Onemain,    PO Box 3251,    Evansville, IN 47731-3251
28542776       +E-mail/Text: Bankruptcy@octaxcol.com Jun 25 2020 01:46:33         Orange County Tax Collector,
                 PO Box 545100,    Orlando FL 32854-5100
28627517        EDI: PRA.COM Jun 25 2020 05:23:00       Portfolio Recovery Associates, LLC,      POB 41067,
                 Norfolk VA 23541
28542829       +EDI: PRA.COM Jun 25 2020 05:23:00       Portfolio Recovery,    Po Box 41021,
                 Norfolk, VA 23541-1021
28659181       +EDI: JEFFERSONCAP.COM Jun 25 2020 05:23:00       Premier Bankcard, Llc,
                 Jefferson Capital Systems LLC Assignee,     Po Box 7999,    Saint Cloud Mn 56302-7999
28673459        EDI: Q3G.COM Jun 25 2020 05:23:00       Quantum3 Group LLC as agent for,
                 Velocity Investments LLC,    PO Box 788,    Kirkland, WA 98083-0788
28542832       +E-mail/Text: bk@rgsfinancial.com Jun 25 2020 01:46:18        RGS Financial,
                 1700 Jay Ell Dr, Ste 200,    Richardson, TX 75081-6788
28542831        E-mail/Text: newbk@Regions.com Jun 25 2020 01:47:43        Regions Bank,    PO Box 11407,
                 Birmingham, AL 35246-0100
28674561       +EDI: RMSC.COM Jun 25 2020 05:23:00       Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk VA 23541-1021
                         Case 6:19-bk-06510-LVV                 Doc 52       Filed 06/26/20          Page 3 of 5



District/off: 113A-6                  User: lscott                       Page 3 of 3                          Date Rcvd: Jun 24, 2020
                                      Form ID: B318                      Total Noticed: 89


Notice by electronic transmission          was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
28542835       +EDI: RMSC.COM Jun          25 2020 05:23:00     Synchrony Bank/Amazon,   Attn: Bankruptcy,
                 Po Box 965060,            Orlando, FL 32896-5060
28542836       +EDI: RMSC.COM Jun          25 2020 05:23:00     Synchrony Bank/Discount Tire,   Attn: Bankruptcy,
                 Po Box 965035,            Orlando, FL 32896-5035
28542837       +EDI: RMSC.COM Jun          25 2020 05:23:00     Synchrony Bank/Walmart,   Attn: Bankruptcy,
                 Po Box 965060,            Orlando, FL 32896-5060
                                                                                                     TOTAL: 53

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
28606525*       ++BMW FINANCIAL SERVICES,    CUSTOMER SERVICE CENTER,   PO BOX 3608,   DUBLIN OH 43016-0306
                 (address filed with court: BMW Financial Services,     Pob 78103,   Phoenix, AZ 85062)
28542779       ##+Absolute Resolutions Corp,    8000 Norman Center Dr #860,   Bloomington, MN 55437-1174
28542791       ##+Cawley & Bergmann, LLC,    117 Kinderkamack Rd #201,   River Edge, NJ 07661-1916
28542824       ##+Mariner Finance,   PO Box 35394,    Dundalk, MD 21222-7394
                                                                                               TOTALS: 0, * 1, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 26, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 24, 2020 at the address(es) listed below:
              Atlas Acquisitions LLC   bk@atlasacq.com
              Cynthia E Lewis   on behalf of Debtor Brion T Trainor-Renzi clewis@lewismonroe.com,
               bedwards@lewismonroe.com;lewiscr89817@notify.bestcase.com
              Cynthia E Lewis   on behalf of Joint Debtor Jill Noel Trainor-Renzi clewis@lewismonroe.com,
               bedwards@lewismonroe.com;lewiscr89817@notify.bestcase.com
              Kristen Henkel    on behalf of Trustee Marie E. Henkel khenkel@mehenkel.com
              Marie E. Henkel    mehenkel@yahoo.com, mhenkel@ecf.axosfs.com
              Taji S. Foreman   on behalf of Creditor    Bayview Loan Servicing, LLC
               tforeman@kahaneandassociates.com,
               bkecf@kahaneandassociates.com;mgranger@kahaneandassociates.com;5456272420@filings.docketbird.com
              United States Trustee - ORL7/13, 7   USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 7
                       Case 6:19-bk-06510-LVV                     Doc 52    Filed 06/26/20          Page 4 of 5

Information to identify the case:
Debtor 1              Brion T Trainor−Renzi                                         Social Security number or ITIN     xxx−xx−2393
                      First Name   Middle Name   Last Name                          EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Jill Noel Trainor−Renzi                                       Social Security number or ITIN     xxx−xx−0736
(Spouse, if filing)
                      First Name   Middle Name   Last Name                          EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Middle District of Florida

Case number: 6:19−bk−06510−LVV


Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Brion T Trainor−Renzi                                           Jill Noel Trainor−Renzi
           aka Brion T Renzi, aka Brion Renzi, aka B T                     aka Jill Noel Bosselman, aka Jill Noel Johnson,
           Trainor Renzi, aka B Trainor Renzi, aka Brion                   aka Jill Trainor−Renzi, aka Jill Johnson, aka Jill
           Thomas Trainor−Renzi, dba Double Team                           N. Bosselman
           Fitness




                                                             ____________________________________________
           Dated: June 24, 2020                              Lori V. Vaughan
                                                             United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case, and it does                 This order does not prevent debtors from paying any debt
not determine how much money, if any, the trustee will pay                 voluntarily or from paying reaffirmed debts according to the
creditors.                                                                 reaffirmation agreement. 11 U.S.C. § 524(c), (f).

Creditors cannot collect discharged debts
This order means that no one may make any attempt to                       Most debts are discharged
collect a discharged debt from the debtors personally. For                 Most debts are covered by the discharge, but not all.
example, creditors cannot sue, garnish wages, assert a                     Generally, a discharge removes the debtors' personal
deficiency, or otherwise try to collect from the debtors                   liability for debts owed before the debtors' bankruptcy case
personally on discharged debts. Creditors cannot contact                   was filed.
the debtors by mail, phone, or otherwise in any attempt to
collect the debt personally. Creditors who violate this order              Also, if this case began under a different chapter of the
can be required to pay debtors damages and attorney's                      Bankruptcy Code and was later converted to chapter 7,
fees.                                                                      debts owed before the conversion are discharged.
However, a creditor with a lien may enforce a claim against                In a case involving community property: Special rules
the debtors' property subject to that lien unless the lien was             protect certain community property owned by the debtor's
avoided or eliminated. For example, a creditor may have                    spouse, even if that spouse did not file a bankruptcy case.
the right to foreclose a home mortgage or repossess an
automobile.

                                                                                          For more information, see page 2 >
Official Form 318                                             Order of Discharge                                   page 1
                Case 6:19-bk-06510-LVV            Doc 52    Filed 06/26/20     Page 5 of 5




Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop
       obligations;                                        creditors from collecting from anyone else who is
                                                           also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
     ♦ debts for most student loans;                       guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                            page 2
